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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

                                                           HON.PATRICK J.DUGGAN
                                                           CASE NO.08-20309-1
    UNITED STATES OF AMERICA,

    -V-

    RICARDO VARGAS,

                        Defendant(s).
                                           /

                           ORDER GRANTING MOTION IN LIMINE

                        At a session of said Court, held in the U.S.
                          District Courthouse, Eastern District
                          of Michigan, on September 30, 2008.


          This matter is before the Court on Defendant ’s Motion In Limine to Exclude Prior

    Conviction. For the reasons stated on the record on September 30, 2008;

          IT IS ORDERED that the Motion to Exclude Prior Conviction be and the same is

    hereby GRANTED.



                               s/Patrick J. Duggan
                               Patrick J. Duggan
                               United States District Judge

    Dated: September 30, 2008

    I hereby certify that a copy of the foregoing document was served upon counsel of record
    on September 30, 2008, by electronic and/or ordinary mail.

                               s/Marilyn Orem
                               Case Manager
